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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   vs.                                                                     Case No. 3:18-cr-89-J-34JRK

   KATRINA BROWN


                                                    ORDER

           This cause is before the Court on Defendant’s counsel’s Motion to Withdraw (Doc. No.

   82; “Motion”), filed December 21, 2018. Having reviewed the Motion and the file, it is

           ORDERED:

           A hearing regarding the Motion (Doc. No. 82) is set before the undersigned on

   THURSDAY, JANUARY 3, 2019, at 2:00 p.m., in Courtroom 5D, Fifth Floor, Bryan Simpson

   United States Courthouse, 300 N. Hogan Street, Jacksonville, Florida 32202.1 Defendant’s

   presence is required.

           DONE AND ORDERED at Jacksonville, Florida, on December 26, 2018.




   kaw
   Copies to:
   Assistant U.S. Attorneys (Duva/Coolican)
   Darcy D. Galnor, Esquire
   U.S. Marshals Service
   U.S. Pretrial Services
   U.S. Probation



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           Photo identification is required to enter the United States Courthouse. In addition, cellular telephones
   and laptop computers are generally prohibited in the Courthouse. Members of the press seeking to enter the
   Courthouse with electronics shall review and abide by the Standing Order (Doc. No. 27), entered June 13, 2018.
